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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                  Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

                Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                             MOTION FOR PERMISSION TO TRAVEL

         Defendant, Roger J. Stone, Jr., files this Motion for Permission to Travel to the Middle

District of Florida for business opportunities, and states:

         Mr. Stone seeks permission to travel to The Villages, Florida, from April 1, 2019 to April

2, 2019. Counsel has communicated with Mr. Stone’s Pretrial Services Officer who has stated

Pretrial Services has no objection to the filing of this motion and requested their office be kept

advised of the Court’s ruling.

         Additionally, Mr. Stone seeks permission to make additional trips to the Middle District,

specifically to Winter Park, Florida, from April 5, 2019 to April 7, 2019 and to Clearwater,

Florida, from April 16, 2019 to April 17, 2019. Mr. Stone will provide Pretrial Services with

complete itineraries prior to his departures and contact his Officer upon his return.

         The Government has been provided a copy of this Motion and has no objection to the

relief sought. Mr. Stone respectfully requests that this Court grant this motion for permission to

travel and allow Mr. Stone to travel to the Middle District of Florida during the dates outlined

above.

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                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on March 28, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

    United States Attorney’s Office for the             United States Department of Justice
            District of Columbia                             Special Counsel’s Office

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                                                    By: /s/ Robert C. Buschel
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